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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                           Plaintiff,
         v.                                        Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE and KEBE
STUDIOS LLC,

                           Defendants.


   PLAINTIFF’S BRIEF IN SUPPORT OF PERMANENT INJUNCTION

      Plaintiff Belcalis Marlenis Almánzar (“Plaintiff”) respectfully submits this

brief in support of her request for a permanent injunction against Defendants

Latasha Transrina Kebe (“Kebe”) and Kebe Studios LLC (“Kebe Studios”)

following the jury trial and verdict in this action (collectively, “Defendants”).

                              I.        BACKGROUND

      Plaintiff filed this action because Defendants refused to stop targeting her

with harmful and disgusting lies. For over three years, Defendants repeatedly and

knowingly published false and defamatory statements that Plaintiff engaged in

prostitution; that Plaintiff has herpes and HPV; that Plaintiff uses or has used

cocaine; that Plaintiff appears in a particular video engaging in a debasing act with
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a beer bottle; and that Plaintiff committed adultery (the “Defamatory Statements”).

      The verbatim Defamatory Statements published by Defendants and admitted

at the recent jury trial in this case included the following:

      Defamatory Statements that Plaintiff Engaged in Prostitution

      •      Kebe: “There’s a lot that you spilled, you said that Cardi is a
             prostitute, she was a drug user, cocaine and Molly to be specific,
             she has herpes.” Jones: “Yes.” (P-534 at 0:35.)

      •      Kebe: “You said that Cardi B prostituted.” Jones: “Yes” (P-534 at
             0:40.”

      •      Kebe: “(Kebe) Was this [Cardi’s] first time prostituting that you
             knew of?” Jones: “This was her first time prostituting that I knew
             of, yes.” (P-534 at 22:00.)

      •      “[Plaintiff] prostituted for a living” (P-532 at 5:50.)

      •      “I cosigned everything that [Jones] said, that she’s a whole
             prostitute.” (P-592 at 1:07:50.)

      •      “She’s mad because I called her a prostitute – b**ch you sold
             p***y!” (P-581 at 7:15.)

      •      “I do know this, for her to come out here and say that she’s never
             sold p***y, that’s a lie. That’s a motherf***ing lie.” (P-576 at
             58:45.)

      Defamatory Statements that Plaintiff has Herpes and HPV

      •      Kebe: “She has herpes?” Jones: “Yes.” (P-534 at 0:48.)

      •      Kebe: “There’s a lot that you spilled, you said that Cardi is a
             prostitute, she was a drug user, cocaine and Molly to be specific,
             she has herpes.” Jones: “Yes.” (P-534 at 0:35.)

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•     “I thought we left you and your confirmed irritated p***y in
      2018. . . . #HerpesB.” (P-276.)

•     “I know you got HPV.” (P-592 at 1:16:11.)

•     “What’s the hashtag? Cold Sore B! We’re going to be talking
      about Cold Sore B tonight b**ch. Since y’all should have had a
      motherf***ing gag order, we’ll see b**ch.” (P-549 at 3:05.)

•     “Cardi- Cold Sore B, I’m sorry Cold Sore B, that’s her name.” (P-
      549 at 38:00.)

•     “We had a certain rapper, Cold Sore B, tweeting about us all
      night.” (P-576 at 2:30.)

•     “Cold Sore B is done.” (P-576 at 51:50.)

•     “Cold sore B is done.” (P-264.)

•     “Herpes B” (P-999.)

Defamatory Statements that Plaintiff Used Cocaine

•     Kebe: “Was she a drug user?” Jones: “Yes” Kebe: “Cocaine . . . to
      be specific?” Jones: “Yes” (P-534 at 0:40.)

•     Kebe: “There’s a lot that you spilled, you said that Cardi is a
      prostitute, she was a drug user, cocaine and Molly to be specific,
      she has herpes.” Jones: “Yes.” (P-534 at 0:35.)

•      “Now if the bitch is lying, by saying that you’re a cokehead, okay,
      by saying that you were addicted to Molly pills, by saying that you
      were a prostitute, why in the f**k are you coming at the blogs for
      some s**t that already went viral, sue the b**ch.” (P-519 at 2:59.)




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      Defamatory Statements About Debasing Act with a Beer Bottle

      •      “[Plaintiff] stuck beer bottles up her vagina, she actually took
             beer bottles from pedestrians. This is on video, she took the beer
             bottle from the pedestrian . . . stuck it in her cooch, drank the
             beer bottle and gave it back to him.” (P-583 at 22:40.)

      Defamatory Statements that Plaintiff Committed Adultery

      •      “[Plaintiff is] f***ing someone else too.” (P-592 at 1:15:37.)

          • “She also said that you f***ing somebody too high profile and
            that’s the reason you are done” (P-592 at 1:16:29.)

      •      “Enjoy your transition d**k, that’s the only thing that gave her
             balls, somebody is licking her p***y.” (P-592 at 1:21:31.)

      •      “Now [Plaintiff]’s f***ing somebody else.” (P-581 at 8:00.)

      •      “Who is Cardi’s side peen? He works for Atlantic, he’s high up on
             the Richter scale.” (P-579 at 5:57.)

      •      L. Kebe: “Cardi’s sleeping with somebody else.” C. Kebe: “You
             don’t know that.” L. Kebe: “But I do, my source told me that,
             when have my sources lied to me? When, I’m waiting.” (P-579 at
             24:30.)

      Each of these categories of statements was supported at trial with

overwhelming and unrebutted evidence establishing that the statements were

patently false and defamatory and that Defendants published them with actual

malice and with the intention of causing Plaintiff emotional distress. The jury

unanimously found both Defendants liable on each of Plaintiff’s claims and

awarded compensatory damages, punitive damages, and her costs of litigation.

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      Even though Defendants were told on multiple occasions that the abhorrent

things they were publishing about Plaintiff were untrue, and even though they

admitted that they knew they were untrue, Defendants refused to discontinue,

remove, or retract the Defamatory Statements. Indeed, despite the filing of this

action and the receipt of multiple cease-and-desist letters, Defendants’ harassment

continued throughout this years-long litigation as Defendants purposefully

persisted in repeating the Defamatory Statements in order to upset Plaintiff and

drive traffic to Defendants’ platforms. (See, e.g., 1/12/22 Tr. at 22:10-22 (Kebe

acknowledging that she tagged Plaintiff and used the hashtag #HerpesB in her

posts in part to irritate Plaintiff); P-549 (10/7/19 Video) at 39:15 (“I just happen to

have a personal vendetta against you b**ch, so I take pride in this s**t.”).)

      Defendants also have made clear on multiple occasions that they will not

stop repeating the Defamatory Statements unless compelled to by this Court. For

example, during a September 21, 2020 video (a year and a half after this case was

filed), Kebe clearly explained her intentions:

      “I don’t care if they put a gag order on me, the reason the b**ch is
      mad - I know y’all going to put a gag order on me, I don’t give a f**k,
      it’s going to be an injunction, I don’t give a f**k.”

(P-581 at 4:10; see also, e.g., P-549 (10/7/19 Video) at 3:05 (“What’s the hashtag?

Cold Sore B! We’re going to be talking about Cold Sore B tonight b**ch. Since

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y’all should have had a motherf***ing gag order, we’ll see b**ch.”), at 27:00

(““Now, on to Cold Sore B. Y’all should have had a gag order on me, I was just

waiting for the right time, and the right motherf***ing receipts to strike again,

b**ch.”); P-550 (11/11/19 Video) at 4:15 (“She wants me to delete videos. Well

b**ch you need to give me a check. You want me to delete these videos you better

give me the money that I was supposed to make off of the videos. Or more.

Because it’s residual income. . . . You want s**t down on my platform, you got to

pay for that.”); P-583 (4/23/19 Video) at 18:25 (“You want to shut me up? Let me

tell you how to shut me up. Pay me b**ch.”).

      And when asked about her statements during the trial, her testimony could

not have been more unequivocal:

      Q:     “[U]nless someone actually forces you to, you are never going
             to stop repeating these statements about my client?”

      A:     “That is correct.”

(1/12/22 Tr. at 101:13-16.)

      Q:     “So the only way at this point these videos are ever going to
             come down is if this Court forces you to; is that right?”

      A:     “That is correct.”

(Id. at 108:7-9.)

      Q:     “Are you essentially saying that to stop you from calling my
             client cold sore B my client needs to get a gag order?”

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      A:     “Yes, ma’am.”

      Q:     “Okay. And when you say gag order, you’re talking about an
             injunction in court; correct?”

      A:     “That is correct.”

(Id. at 128:20-25.)

                                  II.   ARGUMENT

A.    Plaintiff Is Entitled to a Permanent Injunction.

      1.     The Traditional Factors Favor a Permanent Injunction.

      “Under traditional equitable principles, a plaintiff seeking a permanent

injunction must demonstrate (1) it has suffered an irreparable injury; (2) remedies

available at law, such as monetary damages, are inadequate to compensate for that

injury; (3) considering the balance of hardships between the plaintiff and

defendant, a remedy in equity is warranted; and (4) the public interest would not be

disserved by a permanent injunction.” Angel Flight of Ga. v. Angel Flight Am., 522

F.3d 1200, 1208 (11th Cir. 2008) (citing eBay Inc. v. MercExchange, L.L.C., 547

U.S. 388, 391 (2006)). Each of these factors point decidedly in favor of a

permanent injunction in this case.

      Evidence entered at trial proved that Defendants were unrelenting in their

campaign of defamation against Plaintiff both before and during the pendency of

this case. Defendants also made clear that they would not stop publishing the
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Defamatory Statements about Plaintiff absent an order from this Court. If

Defendants carry through with these promises to keep harassing Plaintiff absent an

injunction, Plaintiff will be required to file repeated (if not perpetual) subsequent

litigation to redress the threatened future defamation.

      This is particularly true if Defendants are judgement proof and thus

incapable of compensating Plaintiff for the harm they have caused, or if the

Defendants have fraudulently moved assets during the pendency of this litigation

to make it more difficult to collect the judgment, because then the damages award

cannot serve its intended deterrent effect. Defendants have already boasted as

much:

      Kebe:         “What, I’m like 600 thousand in? But let me tell you how
                    this was a blessing though. Cause can’t nobody else sue
                    me, and even if they do, I ain’t got no money. We’ve got
                    estate lawyers, we’ve got every motherf***ing thing. I
                    ain’t got s**t in my name b**ch.”

      Guest:        “Trust.”

      Kebe:         “Exactly. Good luck with that, you know what I’m
                    saying? People will back away. Oh she’s got a trust? Oh
                    let me just you know, okay let me leave her alone. And
                    you can research it like you know, that is the biggest
                    blessing.”

(P-651 (8/25/21 Video) at 12:30.)

      Kebe:         “Even if they did sue b**ch I ain’t got but a dollar to my
                    name b**ch, what are you going to get? And there’s

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                     always bankruptcy b**ch. To everybody who was like
                     ‘Well what are you going to do if she wins?’ What do
                     you mean what am I going to do? What do you do, I’m
                     going to pull a 50 Cent on that b**ch, what are you
                     talking about?”

(Id. at 14:10; see also https://allblk.tv/socialsociety/season2/no-cap/ at 3:03 (Kebe

referring to the verdict: “I ain’t got it. Don’t ask me for no money. I ain’t got it. . . .

We have business things in place that takes care of things like this.”).)

       Even assuming Defendants satisfy the jury’s substantial damages award,

damages alone are inadequate to address the constant ongoing threat of Defendants

repeating the Defamatory Statements. See Balboa Island Village Inn, Inc. v.

Lemen, 57 Cal. Rptr. 3d 320, 333 (Cal. 2007) (explaining that damages are not

sufficient to address a continuing pattern of defamation because the plaintiff would

be required to bring a succession of lawsuits); see also Baker v. Kuritzky, 95 F.

Supp. 3d 52, 58 (D. Mass. 2015) (granting injunction where “[t]he frequency of the

libelous statements suggests that the libel will continue absent injunctive relief”).

As noted above, Defendants have explicitly said that they will continue publishing

the Defamatory Statements unless an injunction is issued.

       In addition, the ongoing harm to Plaintiff if the Defamatory Statements are

permitted to subsist and be repeated is irreparable. Courts have routinely

recognized damage to reputation, the archetype form of harm that is caused by

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defamation, as irreparable. See, e.g., White Cap, L.P. v. Mowers, No. 1:19-cv-

02750-SDG, at 28 (N.D. Ga. Aug. 11, 2021) (“While White Cap is entitled to

certain monetary damages as well, there is no adequate remedy at law to restore its

tarnished reputation or to prevent continuing harm from Defendants’ actions -

damage to White Cap continues as long as Defendants continue their wrongful

conduct.”) (granting permanent injunction for defamation); see also Transcon. Gas

Pipe Line Co. v. 6.04 Acres, 910 F.3d 1130, 1164-66 (11th Cir. 2018) (affirming

finding that harm to reputation was irreparable); McDonald’s Corp. v. Robertson,

147 F.3d 1301, 1310 (11th Cir. 1998) (same); Reinalt-Thomas Corp. v. Mavis Tire

Supply, LLC, 391 F. Supp. 3d 1261, 1281 (N.D. Ga. 2019) (finding harm to the

plaintiff’s reputation was irreparable); Express Franchise Servs., L.P. v. Impact

Outsourcing Solutions, Inc., 244 F. Supp. 3d 1368, 1384 (N.D. Ga. 2017) (same);

EWE Grp. v. Bread Store, LLC, 54 F. Supp. 3d 1343, 1352 (N.D. Ga. 2014)

(same); Dunkin’ Donuts Inc. v. Kashi Enters., Inc., 106 F. Supp. 2d 1325, 1327

(N.D. Ga. 2000) (same).1

      Likewise, the emotional harm to Plaintiff that was intentionally caused by

Defendants, which Plaintiff proved at trial, would also be irreparable if permitted


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  Many of these cases arise in the context of trademark infringement where the
reputation of the company’s brand is at issue. This is highly analogous to a
celebrity such as Plaintiff whose personal reputation is her brand.
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to continue. Coyotl v. Kelly, 261 F. Supp. 3d 1328, 1343 (N.D. Ga. 2017)

(recognizing emotional harm as irreparable); see also Chalk v. U.S. Dist. Court

Cent. Dist. of Ca., 840 F.2d 701, 709-10 (9th Cir. 1988) (same); E.E.O.C. v.

Chrysler Corp., 733 F.2d 1183, 1186 (6th Cir. 1984) (same); Conradis v.

Buonocore, No. 6:18-cv-1486-EJK (M.D. Fla. Sept. 17, 2021) (same); Porter v.

Clarke, 290 F. Supp. 3d 518, 533 (E.D. Va. 2018) (same); Lavielle v. Acosta, 281

F. Supp. 3d 1133, 1135 (W.D. Okla. 2017) (“[T]he harm Plaintiffs seek to avoid is

their continued emotional degradation, which is undoubtedly irreparable.”); U.S. v.

Matusoff Rental Co., 494 F. Supp. 2d 740 (S.D. Ohio 2007) (finding irreparable

harm and noting that “emotional distress [is] difficult, if not impossible, to

calculate with mathematical precision”).

      As to the third factor, the harm to Plaintiff outweighs any potential harm to

Defendants if they are enjoined from continuing to publish the Defamatory

Statements because the First Amendment does not protect false and defamatory

speech. See Beauharnais v. Illinois, 343 U.S. 250, 266 (1952); see also Ashcroft v.

Free Speech Coalition, 535 U.S. 234, 245-46 (2002) (“The freedom of speech has

its limits; it does not embrace certain categories of speech, including defamation . .

. .”). Defendants therefore have no legitimate interest that would be affected by an

injunction that prevents them from continuing to publish (and republish) the

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Defamatory Statements.

      Defendants may argue that Plaintiff will not suffer harm without an

injunction because they already have removed certain videos and posts. As an

initial matter, not all of the videos and posts containing the Defamatory Statements

have been removed from Defendants’ social media accounts. (See, e.g., P-552 at

2:18, 35:22, 48:15, 49:14, 52:19 (“Cold Sore B”); P-565 at 0:54, 3:27, 12:00

(“Cold Sore B”), at 4:00 (“You’ve got cold sores on your lip, the picture’s on live,

everyone can see that s**t. Who’s got a gag order now?”); Decl. of W. Andrew

Pequignot (“Pequignot Decl.”) ¶ 2, Ex. A.) Regardless, even with respect to videos

and posts that have been taken down, Defendants have made it abundantly clear

that an injunction is necessary to prevent them from repeating and republishing the

Defamatory Statements.

      Indeed, without an injunction, Defendants could simply republish the same

videos and written posts at any time, and Plaintiff’s only recourse would be to file

another lawsuit. This is not a hypothetical concern; Defendants previously

removed the Starmarie Jones interview and the video she posted a couple days later

from their social media channels upon receiving a cease-and-desist letter only to

republish them the very next day. (Pl.’s Second Am. Compl. (ECF No. 69) ¶¶ 67-

68; Kebe’s Answer and Affirmative Defenses, ECF No. 79 ¶¶ 67-68.) And despite

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the overwhelming evidence entered at trial and a unanimous jury verdict against

both Defendants on all of Plaintiff’s claims, they continue to insinuate that the

Defamatory Statements are true: “No LIES were told on anyone.” (Kebe referring

to this action). (Pequignot Decl. ¶ 3, Ex. B.)

      Notably, “the court’s power to grant injunctive relief survives

discontinuance of the illegal conduct.” United States v. W. T. Grant Co., 345 U.S.

629, 633 (1953); accord Ky. Fried Chicken Corp. v. Diversified Packaging Corp.,

549 F.2d 368, 390 n.29 (5th Cir. 1977) (“In numerous cases courts have enjoined

future violations though the transgressor has purged itself and come to court saying

it will never again transgress and become a sinner.”). This is the case because “the

purpose of an injunction is to prevent future violations and the defendant would

otherwise be free to return to his old ways.” Pullum v. Greene, 396 F.2d 251, 256

(5th Cir. 1968). Given Defendants’ refusal to remove the Defamatory Statements

from their social media channels for more than three years even though they knew

the statements were untrue, and given their promises to continue publishing the

Defamatory Statements unless this Court orders them to stop, there can be no

doubt that Defendants will “return to their old ways” unless an injunction is issued.

      Finally, the public’s interest in truthful information will be well-served by

prohibiting Defendants from continuing to publish and republish the Defamatory

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Statements. White Cap, No. 1:19-cv-02750-SDG, at 29. It also is in the public’s

interest not to burden the courts with multiple damages actions to address

Defendants’ continuing course of misconduct.

      2.     A Permanent Injunction Is Consistent with the First Amendment
             and Georgia Law.

      In addition to the above factors, the Court must address whether an

injunction would constitute an unconstitutional prior restraint on speech.

Importantly, the Supreme Court “has never held that all injunctions [against

speech] are impermissible.” Pittsburgh Press Co. v. Pittsburgh Comm’n on

Human Relations, 413 U.S. 376, 390 (1973) (emphasis added). Rather, “[t]he

special vice of a prior restraint is that communication will be suppressed, either

directly or by inducing excessive caution in the speaker, before an adequate

determination that it is unprotected by the First Amendment.” Id. (emphasis

added). On the other hand, a permanent injunction on speech is permissible where

“the order is based on a continuing course of repetitive conduct” and “the order

will not have gone into effect before [a] final determination that the [speech is]

unprotected.” Id.; see also Auburn Police Union v. Carpenter, 8 F.3d 886, 903 (1st

Cir. 1993) (“An injunction that is narrowly tailored, based upon a continuing

course of repetitive speech, and granted only after a final adjudication on the

merits that the speech is unprotected does not constitute an unlawful prior
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restraint.”); Balboa Island, 57 Cal. Rptr. 3d at 333 (distinguishing between

“requests for preventive relief prior to trial and post-trial remedies to prevent

repetition of statements judicially determined to be defamatory”); Holmes v.

Dominique, No. 1:13- cv-04270-HLM, at 27-30 (N.D. Ga. Jan. 20, 2015) (entering

permanent injunction after having denied a preliminary injunction on First

Amendment grounds). Defendants’ targeted defamation of Plaintiff has been a

continuing course of repetitive conduct, and there was a determination made at trial

that the Defamatory Statements are unprotected speech.

      For injunctive relief to be allowable in a diversity case like this one, the

relief also must be consistent with state law. That is not an impediment to issuing

an injunction in this case. In Retail Credit Co. v. Russell, 218 S.E.2d 54 (1975), the

Georgia Supreme Court adopted and applied the reasoning of Pittsburgh Press to

uphold a permanent injunction for defamation under Georgia law. The trial court’s

injunction restrained the defendant there from publishing that the plaintiff was

“dismissed for dishonesty and would not be eligible for rehire” and that “he

admitted to taking money over a period of time” from his former employer. Id. at

62. The Georgia Supreme Court explained:

      Under the Court’s reasoning in Pittsburgh Press, the injunction before
      us is not a prior restraint offending the Federal or State Constitutions.
      The jury verdict necessarily found the statements of Retail Credit to
      have been false and defamatory, and the evidence authorized a
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      conclusion that the libel had been repetitive. Moreover, the injunction
      does not interfere with Retail Credit’s business activities in general, or
      even with its publication of further reports on Russell, provided there
      is no repetition of the exact allegations found to have been libelous.

Id. at 62-63.

      Numerous other federal and state courts have upheld the propriety of a

permanent injunction for repetitive defamatory statements after a final

determination that the statements were defamatory. See, e.g., Auburn Police Union,

8 F.3d at 903-04; Lothschuetz v. Carpenter, 898 F.2d 1200, 1209 (6th Cir.1990);

Hill v. Petrotech Res. Corp., 325 S.W.3d 302, 309 (Ky. 2010); Balboa Island, 57

Cal. Rptr. 3d at 331; Advanced Training Sys., Inc. v. Caswell Equip. Co., Inc., 352

N.W.2d 1, 11 (Minn. 1984); O'Brien v. Univ. Cmty. Tenants Union, Inc., 327

N.E.2d 753, 755 (Ohio 1975).

      The California Supreme Court’s opinion in Balboa Island succinctly

encapsulates the rationale of these decisions:

      [P]reventing a person from speaking or publishing something that,
      allegedly, would constitute a libel if spoken or published is far
      different from issuing a posttrial injunction after a statement that
      already has been uttered has been found to constitute defamation.
      Prohibiting a person from making a statement or publishing a writing
      before that statement is spoken or the writing is published is far
      different from prohibiting a defendant from repeating a statement or
      republishing a writing that has been determined at trial to be
      defamatory and, thus, unlawful.

Balboa Island, 57 Cal. Rptr. 3d at 326 (emphasis added) (summarizing the history
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of injunctions in defamation cases).

      The jury in this case has already made a final determination that the

statements published by Defendants are defamatory, and thus unlawful. And as

discussed above, Defendants’ publishing of these statements has been repetitive

and unrelenting. A permanent injunction is both constitutionally permissible and

required to afford Plaintiff a complete remedy on her meritorious claims.

B.    Plaintiff Seeks a Narrowly Tailored Injunction.

      Plaintiff seeks a permanent injunction that is not worded more broadly than

is necessary to address the Defamatory Statements that were the subject of this

action and that were found defamatory by the jury in this case.2 Specifically,

Plaintiff is only seeking to require Defendants to remove any videos and posts that

contain the Defamatory Statements from their social media accounts and to enjoin

Defendants from republishing those same statements. In other words, the proposed

injunction will only affect speech that has been found defamatory and thus is not

subject to First Amendment protection, which is consistent with the Federal and

State constitutions and the weight of authority on this issue. See supra.




2
 A proposed injunction will be submitted before the hearing on this issue in
accordance with the Court’s instructions.
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                              III.   CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests this Court grant the

requested permanent injunction.

Dated: March 3, 2022                   Respectfully submitted,

                                       /s/ W. Andrew Pequignot
                                       Lisa F. Moore (Bar No. 419633)
                                       W. Andrew Pequignot (Bar No. 424546)
                                       MOORE PEQUIGNOT LLC
                                       887 West Marietta Street, Suite M-102
                                       Atlanta, Georgia 30318
                                       Telephone: (404) 748-9596
                                       Email: lisa@themoorefirm.com
                                       Email: andrew@themoorefirm.com

                                       Sarah M. Matz (admitted pro hac vice)
                                       Gary P. Adelman (admitted pro hac vice)
                                       ADELMAN MATZ P.C.
                                       1173A Second Avenue, Suite 153
                                       New York, New York 10065
                                       Telephone: (646) 650-2207
                                       Email: sarah@adelmanmatz.com
                                       Email: g@adelmanmatz.com

                                       Attorneys for Plaintiff




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                       CERTIFICATION AS TO FONT

      In accordance with Local Rule 7.1(D), the undersigned certifies that the

foregoing document was prepared with Times New Roman 14, a font and point

selection approved by the Court in Local Rule 5.1(C).

Dated: March 3, 2022

                                      /s/ W. Andrew Pequignot
                                      W. Andrew Pequignot




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 BELCALIS MARLENIS ALMÁNZAR,

                            Plaintiff,
         v.                                         Case No. 1:19-cv-01301-WMR

 LATASHA TRANSRINA KEBE and KEBE
 STUDIOS LLC,

                            Defendants.


                          CERTIFICATE OF SERVICE

      I hereby certify that on March 3, 2022, I electronically filed the foregoing

PLAINTIFF’S BRIEF IN SUPPORT OF PERMANENT INJUNCTION with the

Clerk of the Court using the CM/ECF system, which will automatically send email

notification of such filing to all of the attorneys of record


                                         /s/ W. Andrew Pequignot
                                         W. Andrew Pequignot
